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Attome s for Plaintiff,
CHRIS OPHER GORDON

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CHRISTOPHER GORDON, an
individual,

Plaintiff,
Vs.

BUSTEDTEES, a business entit
form unknown; BRAIN B_USTE
ENTERPRISES, LLC a hmited
llablllt com any;_JOSHUA
ABRA SO , an mdlvidual;
CQN_NECTED VENTURES, LLC,
a 11m1ted liabllijcy company; and
DOES 1 to 10, mcluslve,

Defendants.

 

 

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CASE NO.
COMPLAINT FOR:

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TRADEMARK
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INFRINGEMENT California laW];
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Califomia law ; and
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6.
[17 U.s.C. §501]

DEMAND FOR JURY TRIAL

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COMPLAINT AND DEMAND FOR JURY TRlAL

 

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Plaintiff CHRISTOPHER GORDON (“Plaintifi”) alleges as folloWs:
INTRODUCTION
Plainti_ff is a comedic narrator Who, on January 18, 2011, published a video
on YouTube that consisted of his original narration humorously describing the
traits of a honey badger. The video Went “viral” and has generated more than §§

million views on YouTube. In the video, Plaintifi” s original expression and joke is

“HONEY BADGER DON'T CARE.” Plaintiff‘s original expression has gained a

 

tremendous amount of notoriety, and his expression has been referred to in
commercials, television shoWs, magazines, and throughout the internet, and by
numerous celebrities. Plaintiff copyrighted his narration, and also trademarked
“HONEY BADGER DON'T CARE” under four separate registration numbers for
various classes of goods, including t-shirts. Plaintiff has produced, advertised, and
Sold t-shirts bearing his expression and mark of “HONEY BADGER DON'T
CARE” since soon after the video Was published, and he continues to sell t-shirts
bearing his expression and mark today.

Defendants include a t-shirt company, BustedTees, and its owners and
decision-maker, Who produced and sold t-shirts that copied verbatim Plaintiffs
expression and trademark, “HONEY BADGER DON’T CARE.” On June S, 2011,
Plaintiff emailed BustedTees, advising the company that it Was violating his
intellectual property rights and demanding that the company stop selling
infringing shirts. BustedTees refused, claiming it Was not infringing on Plaintifi’s
rights. Plaintiff again emailed BustedTees again advising it that “the shirts being
sold by Busted Tees, are using Words from my creation and my rights are
completely and utterly being violated.” Not only did BustedTees refuse to stop
selling the shirts, the company did not have the decency to reply to Plaintiff.

BustedTees never responded to him. Thereafter, on numerous occasions, Plaintiff

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

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2 merchandise, to no avail. Not only did BustedTees refuse to stop selling

its infringing merchandise on YouTube alongside Plaintiffs video, which was

don’t care” shirt, which, according to Abramson, was named after a viral

“CollegeHumor video.”

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10 expression constitute, inter alia, trademark and copyright infringement

11 Defendants’ blatant refusal to stop their unlawful activities, even after being
12 implored to do so by Plaintiff, constitutes willful infringement

13 JURISDICTION AND VENUE

14 1. This is a civil action arising under the Trademark and Copyright

1 and his representatives attempted to convince BustedTees to remove the infringing

3 infringing merchandise, but incredibly, BustedTeeS strategically chose to advertise

generating millions of views. Moreover, Abramson told a reporter from Inc.com

that at one point the most popular t-shirt sold by BustedTees was a “honey badger

Defendants’ unauthorized sales of t-shirts bearing Plaintiff’s trademark and

15 Laws ofthe United States, 15 U.S.C. §§1051, et seq., and 17 U.S.C. §§101 et seq.
16 This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§1331 and 1338.

17 2. This Court has supplemental jurisdiction over the claims in this

18 Complaint that arise under California law pursuant to 28 U.S.C. §1367(a) because

19 the state law claims are so related to the federal claims that they form part of the
20 same case or controversy and derive from a common nucleus of operative facts.

21 3. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b) and

22 1400(a). The infringing products which are the subject of this litigation have been

23 distributed and offered for distribution in the Central District of California, and the

24 Defendants transact business in the Central District of California. Defendants
25 have extensive contacts with, and conduct business within, this District; have
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COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

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placed products into the stream of commerce in this District; and have caused

tortious injury to Plaintiff in this District.

PARTIES
4. Plaintiff is an individual residing in Los Angeles, California.
5. Plaintiff is informed and believes, and thereon alleges, that Defendant

BustedTees is a business entity, form unknown, that is subject to the jurisdiction
of this Court. BustedTees produces and sells merchandise, with an emphasis on t-
shirts, and conducts its business on the internet at bustedtees.com

6. Plaintiff is informed and believes, and thereon alleges, that Defendant
Brain Buster Enterprises, LLC (“Brain Buster”) is a limited liability company that
is subject to the jurisdiction of this Court.

7. Plaintiff is informed and believes, and thereon alleges, that Defendant
Joshua Abramson (“Abramson”) is an individual residing in New York and is
subject to the jurisdiction of this Court.

8. Plaintiff is informed and believes, and thereon alleges, that Defendant
Connected Ventures, LLC (“Connected Ventures”) is a limited liability company
that is subject to the jurisdiction of this Court.

9. Plaintiff is informed and believes, and thereon alleges, that at all
relevant times BustedTees was owned and/or operated by Brain Buster, Abramson,
and/or Connected Ventures.

10. Plaintiff is informed and believes, and thereon alleges, that
Abramson: (a) is the President of BustedTees; (b) a founder of BustedTees; (c)
manages its day-to-day affairs and makes all strategic decisions for the company;
and (d) at all relevant times controlled, and still controls, the operation and

business of BustedTees.

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11. Plaintiff is informed and believes, and thereon alleges, that
BustedTees, Brain Buster, Abramson, and Connected Ventures authorized,
directed, participated in, contributed to, ratified, and/or accepted the benefits of
the wrongful acts as alleged herein. n

12. Plaintiff is informed and believes, and thereon alleges, that there
exists, and at all times relevant hereto there existed, a unity of interest and
ownership between Defendants BustedTees, Brain Buster, Abramson, and
Connected Ventures, and each of them. As a result, any individuality and
separateness between said Defendants has ceased and Defendants are mere shells,
instrumentalities and conduits through which these Defendants carry on their
business and are alter egos of each other, and mere conduits to conduct their own
wrongful acts through the subterhlge of a purported separate corporate entity in
order to avoid liability and responsibility for those wrongful acts.

13. Plaintiff is informed and believes, and thereon further alleges, that
adherence to the fiction of the separate existence of Defendants BustedTees, Brain
Buster, Abramson, and Connected Ventures, as entities or persons distinct from
each other, would permit an abuse of the corporate privilege, sanction fraud
against Plaintiff and the public and promote injustice

14. The true names and capacities, whether individual, corporate,
associate or otherwise of defendants DOES 1 through 10, inclusive, are unknown
to Plaintiff who therefore sues said defendants by such fictitious names. Plaintiff
is informed and believes and based thereon alleges that each of the fictitiously
named defendants is responsible in some manner for the events, acts, occurrences
and liabilities alleged and referred to herein. Plaintiff will seek leave to amend this
Complaint to allege the true names and capacities of these DOE defendants when

the same are ascertained

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SUBSTANTIVE ALLEGATIONS
Plaintiff and His Video, Copyright, and Trademark

15. Plaintiff is a comedian, narrator, writer, and actor, and is commonly
known by his alias, “Randall.”

16. On January 18, 2011, Plaintiff published a video (the “Video”) on
YouTube that consisted of his original narration humorously describing the traits
of a honey badger.l The Video, titled The Crazy Naslyass Honey Baa’ger (Original
narration by Rana’all), became an instant hit. The Video went “viral” and is one
of the most popular videos ever uploaded onto YouTube. To date, the Video has
generated more than 68 million views on YouTube. The Video and subsequent
phenomenon have been covered by internet blogs such as the Hajjfz`ngton Post

(which proclaimed “Honey Badger Don’t Care [as] the best nature video of all

-time”) as well as by entertainment news sites like TMZ.

l7. In the Video, Plaintiff’s original expression and joke is that the
HONEY BADGER DON’T CARE. Plaintiff’s original expression has gained a
tremendous amount of notoriety, and his expression has been referred to in
commercials, television shows, magazines, and throughout the internet.

18. Plaintiff copyrighted his narration in the Video. The copyright
registration number is PA 1-750-515, the effective date of registration is June 15,
2011, and the title is -HONEY BADGER DON’T CARE. Attached hereto as
Exhibit A is a true and correct copy of the certificate of Copyright Registration.

19. Plaintiff is also the owner of the trademark HONEY BADGER
DON’T CARE (the “Mark”). Plaintiff registered the l\/Iark with the United States

Patent and Trademark Office for various classes of goods under the following

 

l The Video can be viewed at https://www.voutube.com/watch?v=4r7wH1\/1g5Yig or by
searching on YouTube.com for The Crazy Nastyass Honey Badger (orz'gz'nal narration by Randall).

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

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Registration Numbers: 4,505,781; 4,419,079; 4,419,081; and 4,281,472.
Registration Number 4,505,781 specifically relates to the class of goods for
clothing, including t-shirts. Attached hereto as Exhibit B are true and correct
copies of the Trademark Registrations.

20. After the Video was published, Plaintiff produced and sold goods,
including t-shirts, that displayed his Mark. Plaintiff continues to sell t-shirts under
the trademark HONEY BADGER DON’T CARE.

21. Plaintiff primarily advertised the t-shirts bearing his Mark on the
internet. Sales of Plaintiff‘ s t-shirts bearing his Mark have been substantial, with a
majority of the sales occurring via the internet.

22. The Mark is instantly recognizable as being associated with Plaintiff
(i.e. Randall). The Mark appeared in Plaintiff’s Video, and has since been
displayed on numerous advertisements and goods that Plaintiff promotes. Plaintiff
even authored a book titled Honey Baa’ger Don ’t Care.' Rana'all’s Gaia'e to Crazy
Nastyass Anirnals, and launched a mobile “app” titled The Honey Baa’ger Don't
Care.

23. Plaintiff has expended a significant amount of time and effort in
making his Mark well-known to the public. Plaintiff has promoted his Mark by,
inter alia, advertising it in connection with his products, making guest
appearances in media outlets, and publicizing the Mark through social media
platforms.

24. As a result of the foregoing, including, but not limited to, the
extensive advertisements, promotions, sales, and enormous popularity of the
Mark, the public has come to exclusively identify the Mark with Plaintiff. Among
other things, Plaintiff, his expression, joke and/or his Mark have appeared or been

alluded to in a Wonderful Pistachios commercial during Dancing with the Stars, in

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

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1 an episode of the popular television show America ’s Got Talent, in an episode of
2 the hit television series Glee by the show’s famous cheerleading coach Sue
3 Sylvester (Jane Lynch), in a Vogae profile of celebrity recording artist Taylor
4 Swift, and on the Howara' Stern radio show (Baba Booey). Plaintiff s expression,
5 joke, and Mark are famous and distinctive under applicable law, including within
the meaning of l5 U.S.C. §§ 1125(0)(1) and 1127.

DEFENDANTS' UNLAWFUL ACTIVITIES AND WILLFUL

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25. BustedTees is a competitor of Plaintiff, as BustedTees also produces

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10 and sells t-shirts on the internet.

11 26. Upon information and belief, by at least June 2011, BustedTees began
12 producing and selling t-shirts that bore Plaintiff’s Mark, and did so throughout the
13 United States, including California.

14 27. On June 8, 2011, Plaintiff emailed BustedTees, stating he owned the
15 Mark, was selling t-shirts bearing the Mark, and that BustedTees must remove the
16 infringing shirts bearing the Mark from its website and stop selling the shirts

17 immediately.

18 28. On June 10, 2011, BustedTees’ attorney responded to Plaintiff via

19 email, stating: “We are in receipt of your request for us to remove certain material
20 from our site that you believe is infringing on your intellectual property rights.

21 We have reviewed your request and ask that you provide legal support for your

22 claims. Busted tees maintains the position that we are not infringing on any of

23 your purported rights.”

24 29. On June 17, 2011, Plaintiff emailed BustedTees, stating: “From my

25 attorney, ‘We are still waiting for the Copyright Office to formally provide us with
26 copyright info. Remember however, even without filing with the Copyright

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Office, the law provides that the creator owns the coD\Light from the day of
M.’ I'll put it to you this way: without my video, Busted Tees, would N()T
have honey badger Shirts. It‘s as simple as that. . . . As it is, I am selling my own
honey badger shirts. Any others in existence are being viewed as ‘rip-offs’ and
‘fakes.’ . . . . You Said, ‘Busted tees maintains the position that we are not
infringing on any of your purported rights,’ however, the shirts being sold by
Busted Tees, are using words from my creation and my rights are completely and
utterly being violated Please watch the video and you’ll see--l mean, this is really
the only proof you need: http://youtu.be/4r7wH_Mg5Yjg[.]” (Emphasis in
original).

30. BustedTees refused to respond to Plaintiffs June 17 , 2011 email.

31. Subsequently, on repeated occasions during the following year,
Plaintiff and his agents attempted to convince BustedTees to remove the infringing
merchandise bearing the Mark. Still, BustedTees refused to remove the infringing
merchandise, but instead, decided to keep selling it. BustedTees ignored all of
Plaintiff" s attempts to convince the company to stop its unlawful activity.

32. BustedTees’ unlawful activity, and pattern of ignoring Plaintiff, is
contrary to the company’s purported policy. Abramson has written that
BustedTees’ policy is as follows: “When someone makes a point to call us out for
stealing something, we take it very seriously. ln some cases, after further
examination it's clear that the exact specific joke had already been made and we
were in the wrong to have not caught it. When this happens, we offer a licensing

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deal or else agree to stop selling the shirts immediately Despite BustedTees’

knowledge that it was using the exact specific joke that Plaintiff made famous,

 

2 http://blog.bustedtees.com/post/83657625046/were-bringing-this-post-to-light-because-this

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BustedTees refused to stop selling the shirts, and ignored Plaintiff’s pleas, in clear
derogation of the company’s purported policy.

33. Incredibly, BustedTees even advertised its infringing merchandise on
YouTube alongside Plaintiff’ s Video, which has generated over 68 millions views.
BustedTees’ strategic advertisement was designed to capitalize on Plaintiff’s
Mark, trample upon his intellectual property rights, and cause customer confusion
in the process.

34. On information and belief, CollegeHumor.com is a website that
is/was owned and operated by the same parent company as BustedTees, and was
co-founded by Abramson. Abramson and/or his company posted Plaintiff’ s Video
on CollegeHumor.com. The posting of Plaintiff’s Video on the website was
unlawful, and the Video still remains on that website as of this very day.3

35. On April 17, 2014, Plaintiff’s counsel demanded (the “Demand”) that
BustedTees stop selling the infringing merchandise and disclose the amount of
sales for all infringing products BustedTees then removed the infringing
merchandise from its website, only after generating substantial sales from the
infringing merchandise, and only after sales of the infringing merchandise began
declining.

36. ln response to the Demand, Abramson wrote, inter alia, that
BustedTees’ total sales of all infringing merchandise amounted to approximately
$21,000. Abramson even produced a document purporting to verify that total
sales of all infringing merchandise amounted to just $21,000. However, the
information provided by Abramson was intentionally false and misleading
Abramson concealed the true amount of sales. In fact, BustedTees’ sales of

infringing merchandise substantially exceeds $21,000. Moreover, on information

 

3 http://WWW.collegehumor.com/Video/641 523 ()/the-crazy-nastyass-honey-badger

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and belief, Abramson told a reporter from Inc.com that at one point the most
popular t-shirt sold by BustedTees was a “honey badger don’t care” shirt, which,
according to Abramson, was named after a viral “CollegeHumor video.”4 The
shirt, however, was named after Plaintijjf’s expression and joke contained in his
Video, not a CollegeHumor video.

37. Defendants’ intentional and deceitful acts of unfair competition and
use of the Mark have caused confusion, and are likely to do so in the future, and
have caused mistake and deception as to the affiliation or association of the
Defendants with Plaintiff, and as to the origin, sponsorship, or approval of the
Defendants' goods by Plaintiff. Plaintiff has neither authorized nor consented to
the use by Defendants of the Mark, any colorable imitation of it, or any mark
confusineg similar to it.

38. Plaintiff is informed and believes, and thereon alleges, the
Defendants‘ purpose in utilizing the Mark is an attempt to benefit unfairly from the
valuable goodwill and extreme popularity of the Mark, which was established at
great expense and effort by Plaintiff.

FIRST CLAIM
(Trademark Infringement under 15 U.S.C. §1114 et seq. Against All
Defendants)

39. Plaintiff repeats, repleads and realleges the allegations contained in
Paragraphs 1 through 38, as though fully set forth herein.

40. The aforesaid acts of Defendants constitute infringement of the Mark
under 15 U.S.C. §1114 et Seq.

41. As a direct and proximate result of Defendants’ wrongful acts,

Plaintiff has suffered and continues to suffer and/or is likely to suffer damage to

 

4 http://www.inc.com/video/ZOl 1 1 1/josh-abramson-bustedtees-founder.html

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his trademark, reputation, and goodwill. Defendants will continue to use the Mark
and will cause irreparable damage to Plaintiff Plaintiff has no adequate remedy at
law and is entitled to an injunction restraining Defendants and their officers,
agents, employees, and all persons acting in concert with them, from engaging in
further acts of infringement

42. Plaintiff is further entitled to recover from Defendants the actual
damages that he sustained and/ or is likely to sustain as a result of Defendants’
wrongful acts. Plaintiff is presently unable to ascertain the full extent of the
monetary damages that he has sustained and/or is likely to sustain by reason of
Defendants’ acts of trademark infringement

43. Plaintiff is further entitled to recover from Defendants the gains,
profits, and advantages that Defendants have obtained as a result of their wrongful
acts. Plaintiff is presently unable to ascertain the extent of the gains, profits, and
advantages that Defendants have realized by reason of their acts of trademark
infringement

44. Because of the willful nature of the wrongful acts of Defendants,
Plaintiff is entitled to all remedies available under 15 U.S.C. §§1 l 17 and 1118,
including but not limited to an award of treble damages and increased profits
pursuant to 15 U.S.C. §1117.

45. Plaintiff also is entitled to recover his attorneys’ fees and costs of suit
pursuant to 15 U.S.C. §1117.
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1 SECOND CLAIM

(Trademark Infringement under California Business and Professions Code

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section 14245 et seq. and California Common Law Against All Defendants)
46. Plaintiff repeats, repleads and realleges paragraphs 1 through 45,
inclusive, of this Complaint and incorporates the same herein by the reference as
though set forth in full. v
47. Defendants’ use of the Mark without Plaintiff s consent constitutes

trademark infringement and unfair competition in violation of California common

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law in that, among other things, such use is likely to cause confusion, deception,
10 and mistake among the consuming public as to the source, approval or sponsorship
11 of the goods offered by Defendants

12 48. The acts and conduct of Defendants complained of herein constitute
13 trademark infringement and unfair competition in violation of the statutory law of
14 California, including California Business and Professions Code section 14245 et
15 seq., in that, among other things, Defendants’ acts and conduct are likely to cause
16 confilsion, deception, and mistake among the consuming public as to the source,
17 approval or sponsorship of the goods offered by Defendants. Defendants’ acts are
18 designed to trade upon Plaintiff‘s reputation and goodwill by causing confusion

19 and mistake among consumers and the public. Plaintiff is entitled to preliminary
20 and permanent injunctions restraining and enjoining Defendants and their officers,
21 agents, affiliates, vendors, partners and employees, and all persons acting in

22 concert with Defendants, from using in commerce Plaintiff’ s federally registered
23 Mark and his common law rights in the Mark.

24 49. As a direct and proximate result of Defendants’ willful and

25 intentional actions, Plaintiff has suffered damages invan amount to be determined
26 at trial. Plaintiff is entitled to all remedies provided by California Business and

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Professions Code section 14247 et seq., including injunctive relief and recovery of
three times Defendants' profits and damages suffered by reason of their wrongful
conduct Because of the willful nature of Defendants' wrongful acts, Plaintiff is
entitled to an award of punitive damages
THIRD CLAIM
(Trademark Dilution under 15 U.S.C. §1125(¢) Against All Defendants)

50. Plaintiff repeats and realleges each and every allegation of paragraphs
1 through 49, above, as though fully set forth herein.

51. Plaintiff has used his Mark to identify his products before Defendants
began using the Mark without his permission

52. The Mark is inherently distinctive and has acquired distinction
through Plaintiff’ s extensive, continuous, and exclusive use of the Mark. The
Mark is famous and distinctive within the meaning of 15 U.S.C. §§1 125(c)(1) and
1 127.

53. Defendants’ use of the Mark is likely to dilute the distinctive quality
ofthe Mark in violation of 15 U.S.C. §1125(0).

54. As a direct and proximate result of Defendants’ wrongful acts,
Plaintiff has suffered and continues to suffer and/or is likely to suffer damage to
his trademarks, reputation, and goodwill. Defendants will continue to use the
Mark and will cause irreparable damage to Plaintiff. Plaintiff has no adequate
remedy at law and is entitled to an injunction restraining Defendants, their
officers, agents, and employees, and all persons acting in concert with them, from
engaging in further acts of trademark dilution.

55. Plaintiff is entitled to recover from Defendants the actual damages
that he sustained and/or is likely to sustain as a result of Defendants’ wrongful

acts. Plaintiff is presently unable to ascertain the full extent of the monetary

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

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damages that he has sustained and/or is likely to sustain by reason of Defendants’
acts of trademark dilution.

56. Plaintiff is further entitled to recover from Defendants the gains,
profits, and advantages that Defendants have obtained as a result of their wrongful
acts. Plaintiff is presently unable to ascertain the extent of the gains, profits, and
advantages that Defendants have realized by reason of their acts of trademark
dilution.

57. Because of the willful nature of the wrongful acts of Defendants,
Plaintiff is entitled to all remedies available under 15 U.S.C. §§1117 and 1118,
including an award of treble damages and increased profits pursuant to 15 U.S.C.
§1117.

58. Plaintiff also is entitled to recover his attomeys’ fees and costs of suit
pursuant to 15 U.S.C. §1117.

FOURTH CLAIM
(Federal Unfair Competition and False Designation of Origin in Violation of
15 U.S.C. §1125(a) Against All Defendants)

59. Plaintiff repeats, repleads and realleges the allegations contained in
Paragraphs 1 through 58, as though fully set forth herein.

60. Defendants’ acts as alleged above constitute unfair competition and a
false designation of origin which have caused confusion, mistake, deception as to
the affiliation, connection or association of Defendants with Plaintiff and as to the
origin, sponsorship, or approval of Defendants’ goods, services and/or activities
by Plaintiff and are likely to do so in the future, in violation of the Lanham Act, 15
U.S.C. §1125(a).

61. As a direct and proximate result of Defendants’ wrongful acts,

Plaintiff has suffered and continues to suffer and is likely to suffer damage to his

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reputation, goodwill, and to the Mark. Defendants will continue the activities
alleged herein and will cause irreparable damage to Plaintiff. Plaintiff has no
adequate remedy at law and is entitled to an injunction restraining Defendants,
their officers, agents, affiliates, vendors, partners and employees, and all persons
acting in concert with Defendants, from engaging in further acts of unfair
competition, deceitful acts using the Mark, and false designation of origin and
false affiliation and association

62. Plaintiff is further entitled to recover from Defendants the actual
damages that he sustained and/or is likely to sustain as a result of Defendants’
wrongful and devious acts. Plaintiff is presently unable to ascertain the full extent
of the monetary damages that he has suffered and/or is likely to sustain by reason
of Defendants’ acts of unfair competition and false designation of origin and false
affiliation and association.

63. Plaintiff is further entitled to recover from Defendants the gains,
profits, and advantages they have obtained as a result of their wrongful and
malicious acts. Plaintiff is presently unable to ascertain the extent of the gains,
profits, and advantages that Defendants have realized by reason of their acts of
unfair competition and false designation of origin and false affiliation and
association.

64. Because of the willful nature of the wrongful acts of Defendants,
Plaintiff is entitled to an award of treble damages and increased profits pursuant to
15 U.S.C. §1117.

65. Plaintiff is also entitled to recover his attorneys’ fees and costs of suit

pursuant to 15 U.S.C. §1117.

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FIFTH CLAIM
(Unfair Competition Against All Defendants)

66. Plaintiff repeats, repleads and realleges paragraphs 1 through 65,
inclusive, of this Complaint and incorporates the same herein by the reference as
though get forth ih run l

67. Defendants’ actions constitute unfair competition under the statutory
law of California, including California Business and Professions Code section
17200, et seq., and under the common law of the State of California.

68. The acts and conduct of Defendants complained of herein have
caused Plaintiff irreparable injury, and will, unless retrained, further impair the
value of his Mark, intellectual property rights, reputation, and goodwill. Plaintiff
has no adequate remedy at law.

69. Plaintiff is informed and believes that Defendants have unlawfully
obtained profits through their acts of unfair competition Defendants should be
forced to disgorge such unlawful profits to Plaintiff.

70. Plaintiff is further entitled to recover from Defendants his actual
damages sustained as a result of Defendants’ wrongful acts. Plaintiff is presently
unable to ascertain the full extent of the monetary damages he has suffered by
reason of Defendants’ acts of unfair competition

71. Because of the willful nature of Defendants’ wrongful acts, Plaintiff
is entitled to an award of punitive damages

SIXTH CLAIM
(Copyright Infringement Against All Defendants)

72. Plaintiff repeats, repleads and realleges paragraphs 1 through 71,

inclusive, of this Complaint and incorporates the same herein by the reference as

though set forth in full.

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73. Plaintiff is informed and believes that Defendants had access to the
Video, through, inter alia, YouTube. lndeed, the Video was unlawfully posted on
CollegeHumor.com, a website owned and operated by the same parent company as
BustedTees, and the Video remains on that website.

74. Defendants manufactured, produced, and sold merchandise, including
but not limited to t-shirts, that copy verbatim Plaintiff’s joke and expression from
his Video, specifically his joke and expression that the “Honey Badger Don’t
Care.” Defendants’ use of Plaintiff’s joke and expression is substantially similar
to Plaintiffs use in the Video. In fact, Defendants’ use is an exact copy verbatim
of Plaintiff’s joke and expression contained in his copyrighted Video.

75. Defendants infringed Plaintiff’ s copyright by manufacturing
producing, and selling merchandise that prominently displayed Plaintiff" s joke and
expression that he used in his copyrighted `Video. Defendants sold their infringing
merchandise on the website bustedtees.com. Defendants’ conduct violated
Plaintiff`s exclusive right in his expression and joke contained in his Video.

76. Plaintiff is informed and believes that Defendants, and each of them,
knowingly induced, participated in, aided and abetted in, and profited from the
illegal copying and/ or subsequent Sales of the infringing merchandise featuring
Plaintiffs expression and joke from the Video.

77. Plaintiff is informed and believes that Defendants, and each of them,
are vicariously liable for the infringement alleged herein because they had the
right and ability to supervise the infringing conduct and because they had a direct
financial interest in the infringing conduct As such, Defendants, and each of
them, are liable for vicarious and/or contributory copyright infringement under 17

U.s.C. §101.

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78. Due to Defendants’ acts of infringement Plaintiff has suffered
substantial damage to his business in an amount to be established at trial.

79. Due to Defendants’ acts of infringement Plaintiff has suffered
general and special damages in an amount to be established at trial.

80. Due to Defendants’ acts of copyright infringement Defendants, and
each of them, have obtained direct and indirect profits they would not otherwise
have realized but for their infringement As such, Plaintiff is entitled to
disgorgement of Defendants’ profits directly and indirectly attributable to
Defendants’ infringement of Plaintiff`s joke and expression used in the Video in
an amount to be established at trial.

81. Plaintiff is informed and believes that Defendants infringed Plaintiff’ s
copyright with knowledge that he owned the exclusive rights in his expression and
joke as contained in the Video and/or that Defendants, and each of them, were
reckless in committing the infringement alleged herein Indeed, Defendants
continued to manufacture, produce, and sell infringing merchandise after Plaintiff
demanded that the infringing merchandise no longer be sold. Defendants’ acts of
copyright infringement were willful, intentional and malicious, subjecting
Defendants, and each of them, to liability for statutory damages under Section
504(c)(2) of the Copyright Act in the sum of up to $150,000 per infringement
and/or they are precluded from deducting certain overhead expenses when
calculating profits to disgorge.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as
follows:

1. That Defendants have (i) infringed the Mark under 15 U.S.C. §11 14
et seq.; (ii) infringed the Mark under California law; (iii) violated 15 U.S.C.

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§1125(c); (iv) violated 15 U.S.C. §1125(a); (v) engaged in unfair competition and
violated California Business and Professions Code section 17200 et Seq.; and (vi)
infringed Plaintiff" s rights in his federally registered copyright under 17 U.S.C.
§5 0 1 .

2. That each of the above acts were willful.

3. That Plaintiff be awarded (i) all profits of Defendants, (ii) all of his
damages, (iii) statutory damages available under the law including 15 U.S.C.
§1117 and 17 U.S.C. §504, if elected, (iv) treble damages, (v) punitive damages,
(vi) disgorgement and restitution of all benefits received by Defendants arising
from their infringement as provided by law, and/or (vii) enhanced damages for
Defendants' willful infringement as provided in 15 U.S.C. §1117 and 17 U.S.C.
§504, the sum of which will be proven at the time of trial.

4. That Defendants, their officers, agents, servants, affiliates, partners,
vendors, employees and attorneys, and those persons in active concert or
participation with them, be preliminarily and permanently enjoined from:

a. Using Plaintiff" s expression and mark “HONEY BADGER
DON’T CARE” or any colorable imitation thereof, or any other
expression or mark likely to cause confusion, mistake, or
deception, in connection with the sale, offering for sale,
distribution, manufacturing, advertising or promotion of their
goods or services;

b. Using any false designation of origin or false description that
can, or is likely to, lead the public to believe that any product
manufactured, distributed, sold, offered for sale, or advertised

by Defendants are in any manner associated or connected with

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Plaintiff is sold, manufactured, licensed, sponsored, or
approved or authorized by Plaintiff;

c. Engaging in any other activity constituting an infringement of
Plaintiff’ s trademark and copyright rights or otherwise unfairly
competing with Plaintiff; and

d. Engaging in any other activity that dilutes the distinctive
quality of the Mark by, among other things, using the Mark in
connection with the sale, offering for sale, distribution,
manufacturing advertising, or promotion of its goods.

5. That Defendants be directed to deliver up to Plaintiff all products
bearing the Mark, any copy, simulation, variation or colorable imitations of the
Mark, and any documents or tangible things that discuss, describe, mention or
relate to such products.

6. That Defendants file with the Court and serve upon Plaintiff’ s
counsel within thirty (3 0) days after entry of judgment a report in writing under
oath setting forth in detail the manner and form in which Defendants have
complied with the requirements of the injunction

7. That Defendants be required to pay to Plaintiff all of his costs,

disbursements, and attorneys’ fees in this action

8. For prejudgment interest
9. For such other relief as the Court deems proper.
DATED: July 30, 2014 KRANE & SMITH, APC

®F `W

DANIEL L. REBACK

JEREMY SMITH
Attorne s for Plaintiff,
CHRIS OPHER GORDON

 

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Certificate of Registration ' `

This Certificate issued under the seal of the Copyright
` Ofiice in accordance Wit`h title 17, United States Code,
attests that registration has been made for the work
_ identified below The information on this certificate has 7 `,
' been made a part of the Copyright O_Hice records 6 ~ ' : b Reg\$tl'atloll Number

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Completion/Publication ` '
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' f ` " l ' 1 b . `Au`th_or': Christopher Zane G__ordon ,_`

 

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` nji`itation of copyright claim
Material excluded from this claim musical recording

 

 

New material included in claim “'text and narration as contained in the video somicitrack f` `

 

" 9 Certification

 

 

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’ Applicaiit's Tracking Number'::" 67653-5000.800 ~ l

 

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EXHIBIT A

 

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United States Patent and Trademark Office wa

HONEY BADGER DON'T CARE

Reg. No. 4,505,781
Registered Apr. 1, 2014
Int. Cl.: 25

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Deputy Direi:toi' of the United States
Patent and Tl~ademark Ol`i'ice

CHRISTOPHER Z. GORDON (UNTTED STATES INDIVIDUAL)
C/O SANA HAKIM OF K&L GATES

P.O. BOX 1135

CHICAGO, IL 606901135

FOR: CLOTHING, NAMELY, T-SHIRTS, TANK TOPS, ONE PIECE GARMENT FOR INFANTS
AND TODDLERS; LONG-SLEEVE SHIRTS, CAPS, IN CLASS 25 (U.S. CLS. 22 AND 39).

FIRST USE 2-24-2011; IN COMMERCE 2-24-2011.

THE MARK CONSISTS OF STANDARD CI~lARACTERS WITHOUT CLAYM 'I`O ANY PAR-
TICULAR FON'l`, STYLE, SIZE, OR COLOR.

SN 85-447,667, F]LED 10-14-2011.

SCOTT BIBB, EXAMINING ATIORNEY

EXHIBIT B

Case 2:14-cv-05990-.]AK-P.]W Document 1 Filed 07/30/14 Page 24 of 27 Page |D #:24

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States of Amel.l,£

United States Patent and Tradeniark Office wa

HONEY BADGER DON'T CARE

Reg. No. 4,419,079
Registered Oct. 15, 2013
Iiit. Cl.: 9

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CHRISTOPHER Z. GORDON (UNITED STATES INDIVIDUAL)
C/O SANA HAKIM OF K&L GATES

P.O. BOX 1135

CHICAGO, IL 606901135

FOR: AUDIO BOOKS IN THE FIELD OF COMEDY, PARODY AND SATIR_E; COMPUTER
APPLICATION SOFTWAR_E FOR MOBILE PHONES, PORTABLE MEDlA PLAYERS,
HANDHELD COMPUTERS, NAMELY, SOFTWARE FOR PLAYING GAMES, IN CLASS 9
(U.S. CLS. 21, 23, 267 36 AND 38).

FIRST USE 12-0-2011; IN COMMERCE 12-0-2011.

THE MARK CONSIS'I`S OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
TICULAR FON'I`, STYLE, SIZE, OR COLOR.

SN 85-447,668, FILED 10-14-2011.

SCO'I'I` BIBB, EXAMINTNG ATTORNEY

Case 2:14-cv-05990-.]AK-P.]W Document 1 Filed 07/30/14 Page 25 of 27 Page |D #:25

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United States Patent and Trademark Office we

HONEY BADGER DON'T CARE

Reg. No. 4,419,081
Registered Oct. 15, 2013
Int. Cl.: 28

TRADEMARK
PRINCIPAL REGISTER

 

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CI-[RISTOPHER Z, GORDON (UNT['ED STATES IN`DIVIDUAL)
C/O SANA HAKIM OF K&L GATES

P.O. BOX 1135

CH]CAGO, IL 606901135

FOR: (BASED ON USE) CHRISTM.AS TREE ORNAMENTS AND DECORATIONS; TALKING
DOLLS AND PLUSH TOYS, IN CLASS 28 (U.S. CLS. 22, 23, 38 AND 50).

FIRST USE 10-8-2011; IN COM_MERCE 10-8-2011.

THE MARK CONSISTS OF STANDAR_D CHARACTERS WITHOUT CLAIM TO ANY PAR-
TICULAR FONT, STYLE, SIZE7 OR COLOR.

sN 85-449,924,F1LED 10-18-2011.

SCOTT BIBB, EXAMlNlNG ATIORNEY

Case 2:14-cv-05990-.]AK-P.]W Document 1 Filed 07/30/14 Page 26 of 27 Page |D #:26

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States of Amel.l

United States Patent and Trademark Office IL`Q

HONEY BADGER DON'T CARE

Reg. No. 4,281,47 2
Registered Jan. 29, 2013
Int. Cl.: 21

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CI-[RISTOPHER Z. GORDON (UNTTED STATES INDIVIDUA L)

C/O SANA HAKIM OF K&L GATES

P.O. BOX 1135

CHICAGO, IL 606901135

FOR; MUGS, IN CLASS 21 (U.S. CLS. 2, 13, 23, 29, 30, 33, 40 AND 50).
FIRST USE 10-7-2011; IN COM]VIERCE 10-7-2011.

THE MARK CONSISTS OF STANDARD CHARACTERS WlTHOUT CLAIM TO ANY PAR-
TICULAR FONT, STYLE, SIZE, OR COLOR.

SER. NO. 85-449,921, FILED 10-18-2011.

SCOTT BIBB, EXAMINING ATTORNEY

Case 2:14-cv-05990-.]AK-P.]W Document 1 Filed 07/30/14 Page 27 of 27 Page |D #:27

DEMAND FOR JURY TRIAL
Plaintiff CHRISTOPHER GORDON hereby demands a jury trial in this

action.

_i>.

DATED: July 30, 2014 KRANE & SMITH, APC

By: § QQWL/
NIEL L. REBACK

JEREMY SMITH
Attorne s for Plaintiff,
CHRIS OPHER GORDON

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